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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. CV 20-4085-DMG (KSx)                                              Date: December 16, 2021
  Title      Starz Entertainment, LLC v. MGM Domestic Television Distribution, LLC




  Present: The Honorable:     Karen L. Stevenson, United States Magistrate Judge


                   Gay Roberson                                    ZOOM VTC- 12/16//2021
                   Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                J. Wesley Earnhardt                             Jagannathan P Srinivasan
                Justin Clarke


  Proceedings: MINUTES OF TELEPHONIC CONFERENCE RE: DISCOVERY
               MANAGEMENT

          Case called. Counsel state their appearances. The Court held its regularly scheduled
  discovery status conference with the parties in this copyright and breach of contract action. (See
  Dkt. Nos. 65, 72.) After reviewing the parties’ Joint Discovery Status Report (Dkt. No. 102), the
  Court notes the parties have made substantial progress in resolving certain discovery disputes
  addressed at earlier discovery conferences. Consequently, there are no current disputes that
  require judicial assistance.

         After further discussion, the parties will submit a Joint Status Report regarding discovery
  progress by January 31, 2022 and a discovery status conference will be held on Wednesday,
  February 16, 2022 at 11:00 a.m. (Pacific). The conference will be conducted remotely. The
  Deputy Clerk will circulate the Zoom link to the participating parties.

          IT IS SO ORDERED.




                                                                                                 : 08 mins
                                                                     Initials of Preparer        gr




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